                  Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 1 of 18
                                                         U.S. Department Of Justice
                                              Bureau of Alcohol, Tobacco, Firearms and Explosives
                                          ATF Annual Performance Appraisal

Employee Name                                                            Social Security Number:    Rating Period:
  EDWARDS,NATALIE M                                                        XXX-XX-6220                01-OCT-2008 TO 30-SEP-2009

Employee Title:                                                          Series/Grade:
  Learning Technologies Training Specialist                                0301 - 13

Organization:                                                            Supervisor Name:
  LEARNING TECHNOLOGY BRANCH




Receipt of Critical Elements:

Employee Signature:                                                                                 Date:
                        /s/Natalie M Edwards                                                                  16-MAR-2009

Supervisor Signature:                                                                               Date:
                        /s/                                                                                   16-MAR-2009

Completed Midyear Review:

Employee Signature:                                                                                 Date:
                        /s/Natalie M Edwards                                                                  26-MAR-2009

Supervisor Signature:                                                                               Date:
                        /s/                                                                                   26-MAR-2009

Completed Annual Review:                                                                            Overall Rating:
                                                                                                    OUTSTANDING
Supervisor Signature:                                                                               Date:
                        /s/                                                                                   22-OCT-2009

Second-Level Review (Signature):                                                                    Date:
                        /s/                                                                                   23-OCT-2009

Employee Signature:                                                                                 Date:




                                                      PRIVACY ACT STATEMENT
AUTHORITY: 5 U.S.C. Sections 9901 - 9902; and E.O. 9397.
PRINCIPAL PURPOSE(S): This form will be used for performance planning and results reporting documentation requirements for
the ATF Performance Management System.
ROUTINE USE(S): None.



                                                                Page 1
                 Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 2 of 18

EDWARDS,NATALIE M
Document Type:          EVAL                                               Document ID:                 377055
                                                                           Template ID:                 GEN4LEV
Owner Type:             Manager                                            Owner:
Begin Date:             01-OCT-2008                                        End Date:                    30-SEP-2009
Document Status:        Review Official Apprvd Rating                      Due Date:                    30-SEP-2009
Overall Rating:         O - OUTSTANDING




  Critical Elements
  First Element
  Learning System Consulting and Support - The employee supports TPD management, Bureau program managers and end users in

  the use of learnATF Live, the Bureau's virtual classroom system.




          Outstanding
          The employee provides expert advice to TPD management and personnel and Bureau program offices on the use of learnATF

          Live for delivering or recording virtual classroom training. The assistance provided reflects a comprehensive knowledge

          of system functionality and TPD policies and practices. Using a consultative approach, the employee works with others

          to identify existing system capabilities that can be used to fulfill training needs and if necessary, recommends changes

          to procedures, system configuration or system functionality to fulfill unmet needs.

          The employee proactively identifies and addresses issues related to system operation so as to minimize any negative

          impact on end users. As an administrator for the learning system, the employee regularly responds to direct inquiries

          from other TPD personnel, end users and Bureau program offices about it. Responses are timely, thorough, accurate and

          properly documented. Employee's troubleshooting of complex problems demonstrates mastery of the system and knowledge of

          the dependencies between its functions, configuration, data and operation.

          The employee provides training to TPD personnel, instructors and end users on the system either as formal instruction,

          demonstration, or on-the-job training. Training provided is consistent with established policy and procedures and the

          employee is able to independently answer complex or difficult questions posed by students. The employee assists the

          Program Manager (Learning Systems) in the development of new training materials or events and, when needed, helps in the

          production and distribution of materials and/or scheduling and delivery of events.

          The employee completes ad hoc tasks as required to support learning system operations. This may include, but not be

          limited to, content loading and editing, account management, session scheduling and facilitation, and event

          coordination, recording and record keeping. Tasks are completed on time and rarely require correction. learnATF Live

          sessions are properly documented and approved by LTB management and requesting program offices prior to delivery or

          dissemination. Content changes by LTB management are rare and limited primarily to minor formatting or presentation

          issues. Session content outlines, presentation slides with instructor notes and course files with final class rosters


                                                                   Page 2
      Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 3 of 18
and participant evaluations are created for all learnATF Live sessions and maintained in a central location for easy

reference and retrieval by LTB management.




Fully Successful
The employee provides advice to TPD management and personnel and Bureau program offices on the use of learnATF Live for

delivering or recording virtual classroom training. The assistance provided reflects a basic knowledge of system

functionality and TPD policies and practices. Using a consultative approach, the employee works with others to identify

existing system capabilities that can be used to fulfill training needs and if necessary seeks the advice and assistance

of management for needs that cannot be met by existing processes or capabilities.

The employee quickly works to address issues related to system operation so as to minimize any negative impact on end

users. Occasionally these issues must be brought to the employee¿s attention by management. As an administrator for

the learning system, the employee regularly responds to direct inquiries from other TPD personnel, end users and Bureau

program offices about it. Responses are timely, thorough, accurate and properly documented. Employee's troubleshooting

of problems demonstrates general understanding of the system and knowledge of the dependencies between its functions,

configuration, data and operation. Answers to complex questions are resolved through consultation with management or

other learning systems support personnel.

The employee provides training to TPD personnel, instructors and end users on the system either as formal instruction,

demonstration, or on-the-job training. Training provided is consistent with established policy and procedures and the

employee is able to independently answer basic questions posed by students, occasionally referring more complex

questions to other instructors or management. The employee assists the Program Manager (Learning Systems) in the

development of new training materials or events and, when needed, helps in the production and distribution of materials

and/or scheduling and delivery of events.

The employee completes ad hoc tasks as required to support learning system operations.       This may include, but not be

limited to, content loading and editing, account management, session scheduling and facilitation, and event

coordination, recording and record keeping. Tasks are completed on time and require minor corrections on no more than

three occasions. learnATF Live sessions are properly documented and approved by LTB management and requesting program

offices prior to delivery or dissemination. Changes to learnATF Live session materials by LTB management are minimal

and, on no more than two occasions, associated with instructional design flaws related to how content is presented or

user understanding assessed. Session content outlines, presentation slides with instructor notes and course files with

final class rosters and participant evaluations are created for learnATF Live sessions and maintained in a central

location for easy reference and retrieval by LTB management. On no more than three occasions, documentation for

sessions is incorrectly prepared, missing information or must be requested by management because it has not been

properly placed in the central location.




Unacceptable

                                                         Page 3
       Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 4 of 18

The employee provides advice to TPD management and personnel and Bureau program offices on the use of learnATF Live for

delivering or recording virtual classroom training. On three or more occasions, the assistance provided is incorrect or

demonstrates a lack of knowledge of basic system functionality and TPD policies and practices. The employee works with

others to identify existing system capabilities that can be used to fulfill training needs, but frequently an existing

process or system capability is overlooked in proposed solutions.

The employee fails to address issues related to system operation in a timely manner and on more than one occasion this

inaction negatively impacts end users. Issues related to system operation must be brought to the employee¿s attention

by management and/or the same issue has to be brought to the employee¿s attention multiple times before it is corrected.

As an administrator for the learning system, the employee occasionally responds to inquiries from other TPD personnel,

end users and Bureau program offices about it. On more than five occasions responses are not timely, thorough, accurate

or properly documented. Employee frequently requires assistance from other learning systems support personnel to

troubleshoot problems that require only a basic understanding of the system and the dependencies between its functions,

configuration, data and operation to resolve.

The employee provides training to TPD personnel, instructors and end users on the system either as formal instruction,

demonstration, or on-the-job training. On more than three occasions, the training provided is inconsistent with

established policy and procedures or the employee is unable to answer basic questions posed by students about the

system. The employee assists the Program Manager (Learning Systems) in the development of new training materials or

events when requested and, when needed, helps in the production and distribution of materials and/or scheduling and

delivery of events. Successful fulfillment of these responsibilities requires the employee be given detailed

instructions on how to execute them.

The employee completes ad hoc tasks as required to support learning system operations. This may include, but not be

limited to, content loading and editing, account management, session scheduling and facilitation, and event

coordination, recording and record keeping. On more than three occasions tasks are not completed on time and/or require

extensive correction. On more than one occasion, a learnATF Live session is not properly documented or approved by LTB

management and the requesting program office prior to delivery or dissemination. Changes to learnATF Live session

materials by LTB management frequently are associated with instructional design flaws in how content is being presented

or user understanding assessed. Session content outlines, presentation slides with instructor notes and course files

with final class rosters and participant evaluations are created for learnATF Live sessions and maintained in a central

location for easy reference and retrieval by LTB management. On more than three occasions, documentation is incorrectly

prepared, missing information or must be requested by management because it has not been properly placed in the central

location.




Element Ratings
x 5 - Outstanding                      4 - Exceeded                       3 - Fully Successful             2 - Minimally Satisfactory



                                                          Page   4
      Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 5 of 18
  1 - Unsatisfactory                  X - Not Applicable




Comments
Dr. Edwards serves as a Learning Technologies Training Specialist in the Learning Technologies Branch (LTB). During

this rating period, she served as the primary administrator of the Bureau¿s virtual classroom tool, learnATF Live.

Building on the initial success of this new delivery method in FY08, Dr. Edwards helped develop, coordinate and deliver

a wide range of virtual sessions in FY09, providing training to more than 1,600 ATF employees. She worked closely with

subject matter experts (SMEs) from Chief Counsel, Field Operations and Materials Management to develop content for each

session. She provided advice and assistance on how to format, structure and chunk content for effective delivery and

incorporate survey questions, knowledge checks, poll questions, application shares, video/audio files, and animation to

engage participants and validate learner comprehension. Participant feedback from these sessions was very positive and

CSM scores regularly averaged 4 or higher. Training offered via learnATF Live this year included Ethics, Continuing

Education for ATF Attorneys, Property Custodian, Introduction to Bar Code Scanners and Victim Witness Protection.

The transition of the Bureau¿s instructor-led Ethics training to the virtual platform this year was a major

accomplishment. Dr. Edwards worked closely other LTB personnel and the Ethics Attorney to develop the session which was

delivered 29 times to 958 participants. She facilitated sessions and provided information and guidance to Continuing

Education Branch to ensure that completions were recorded and evaluations collected for each event. The virtual

sessions averaged a 4.3 CSM score and received comments such as: ¿I attend these virtual type of trainings routinely

with the Army Reserve and this training provided by ATF was equal to or better than any I have attended in the past.

Easy to follow and technologically uncomplicated¿ and ¿Although I was pessimistic about the utility of the virtual

training, it was very convenient, user friendly, and worked out quite well.¿ The Ethics virtual sessions were one of

the key elements in ATF¿s entry for an Office of Government Ethics training and communication award, which TPD submitted

with encouragement from Chief Counsel.
Another extremely successful virtual training series that Dr. Edwards was responsible for this rating period was the

continuing education series for ATF attorneys. Working with subject matter experts from Chief Counsel, Dr. Edwards

delivered virtual training sessions (representing 140 completions) on the topics of the NICS Improvement Amendments Act

of 2007, Hidden Ownership and Title III Fundamentals of Wiretap Applications. She is currently working on development

of a fourth session on the topic of Disclosure. These sessions have been well-received by participants, averaging a 4.5

CSM score, and have provided many of the attorneys with much needed continuing legal education (CLEs) credits. Through

her work on this project, Dr. Edwards has helped make Chief Counsel one of the most vocal supporters of the new delivery

platform. The attorneys from Chief Counsel who have worked with her have been very complimentary saying, ¿You have made

the virtual learning technologies easy to use, which allows us to focus on the training¿ and ¿I am impressed by Dr.

Edwards¿ organizational skills, technical knowledge, flexibility, and collaborative approach. Though my staff and I are

fairly proficient at the underlying subject-matter, we, or at least I, were very apprehensive about LEARN ATF. However,

Dr. Edwards immediately put us at ease with her patience and enthusiasm.¿
Dr. Edwards also continued to support the training needs of the Victim Witness Assistance Program this year. She

helped deliver twenty virtual sessions to 813 participants. When the primary instructor was unavailable due to medical

                                                           Page 5
              Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 6 of 18
        reasons, she helped train other ATF VW Coordinators so they could serve as instructors for the virtual sessions. She

        provided an overview on how the learnATF Live sessions are created at the VW Coordinator Conference (virtually) and

        invited VW Coordinators from other components in DOJ to sit in on one of the live sessions so they could assess the

        feasibility of offering training to their component¿s employees using similar technology.
        Finally, Dr. Edwards worked with Materials Management Branch on the delivery of online training to property custodians.

        This included delivery of 6 virtual sessions on how to use new bar code scanners to conduct the annual inventory and

        one virtual session on the roles and responsibilities of property custodians and best practices for inventory

        management. Although another LTB training specialist served as the project lead on these efforts, Dr. Edwards provided

        advice to him and the SME throughout the development process, loaded all of the content in the learnATF Live platform

        and coordinated/facilitated the live sessions.
        More impressive was that Dr. Edwards accomplished all of this despite severe and persistent problems with the Centra

        platform originally used to deliver the FY08 virtual sessions. After a failed upgrade in November, the Centra platform

        became unstable and could no longer be relied upon to support ATF¿s virtual training efforts. When an opportunity arose

        to participate in ATF¿s pilot of the Adobe Connect product, Dr. Edwards demonstrated initiative and resourcefulness by

        learning and then successfully using the alternate platform for most of the FY09 sessions. She educated herself on all

        of Adobe¿s features by examining user manuals, attending webinars, and experimenting with the application. Her

        expertise with the new platform was evident when she was able to assist the Associate Chief Counsel, New Orleans to

        resolve problems with incorporating video into a virtual session planned in support of roll call training in that field

        division.
        Throughout the year Dr. Edwards also continued to work with JMD¿s Enterprise Solutions Staff and Saba technical support

        to troubleshoot problems with the DOJ Centra instance. She participated in numerous conference calls to monitor

        troubleshooting efforts and on more than one occasion traveled to the DOJ Data Center so she could test the application

        immediately after changes aimed at resolving the problems were made. This allowed the IT support personnel working on

        the issue to immediately see for themselves whether the application's behavior was improved or altered by attempted

        fixes. Dr. Edwards also submitted trouble tickets to Saba technical support, documenting problems with comprehensive

        descriptions of application behavior and screenshots and obtaining server log files from JMD personnel when needed.

        When it became clear that the underlying problems with the instance could not be resolved, Dr. Edwards participated in

        planning sessions with General Physics to discuss standing up a new Centra environment at the ATF LMS hosting facility.

        The technical configuration for this new instance has now been completed and end user testing is scheduled to begin

        shortly. Plans are to have the new instance in production this November shortly after the Adobe pilot ends. Through

        her efforts, Dr. Edwards has helped make learnATF Live a success this year while at the same time laying the groundwork

        for even wider use and success of the platform in FY10.



Second Element
Project Planning/Management: The employee plans and manages workload to ensure effective and timely completion of

assignments and projects.




        Outstanding
                                                                 Page 6
      Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 7 of 18

The employee independently and effectively plans and manages complex work assignments to meet all work schedules and

deadlines, accomplish budget and project objectives and successfully complete projects in support of the Bureau's

mission. The employee manages changes in priorities and is able to effectively balance multiple projects

simultaneously. Management is provided regular updates on project status and actions taken to address obstacles to

successful accomplishment of assigned tasks. The employee accurately assesses the resources needed to accomplish

objectives and clearly communicates requirements to management in a timely fashion. Work products are exemplary and

require few to no changes prior to management acceptance.




Fully Successful
The employee plans and manages workload and complex work assignments to meet work schedules and deadlines.

Clarification from management on priorities is occasionally required to enable the employee to manage multiple projects

simultaneously. Employee regularly informs management of project status and potential issues affecting successful

accomplishment of assigned tasks. Employee assessments of resources required to achieve objectives generally are

accurate and communicated to management in a timely manner. Work products generally are free from error, but

occasionally are returned by management for correction or clarification.




Unacceptable
On more than two occasions, the employee fails to plan and manage complex assignments effectively resulting in missed

deadlines. The employee is unable to accommodate shifting priorities and repeatedly submits work incomplete or late.

Management must frequently request information on project status and remind employee of pending deadlines. On more than

two occasions, management must provide significant oversight to achieve successful project completion. The employee

fails more than 25% of the time to identify and communicate to management resources needed to accomplish objectives.

Work products are not acceptable, frequently requiring extensive correction and clarification




Element Ratings
x 5 - Outstanding                    4 - Exceeded                      3 - Fully Successful            2 - Minimally Satisfactory


  1 - Unsatisfactory                 X - Not Applicable




Comments
Given the number of learnATF Live sessions planned, and the technical problems that necessitated transitioning to an

entirely new platform mid-year, Dr. Edwards¿ project management skills were truly put to the test this rating period.

She effectively scheduled, coordinated and delivered more than 60 virtual sessions, often running from 2 to 4 sessions a

week. She handled all logistics for these events including securing call bridges, building content in Centra/Adobe,

                                                          Page 7
              Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 8 of 18
       drafting the registration notification and participant instructions, creating the scheduled offering in the LMS, sending

       reminder notifications to registered participants, managing registrations and cancellations, recording completions,

       sending and compiling Level I evaluations, recording CSM scores and preparing after action reports. She maintained and

       distributed a calendar of virtual events to LSMD management and ensured that subject matter experts working on content

       were aware of project schedules and upcoming deadlines. When the Centra platform unexpectedly was unavailable for the

       last three VW sessions in CY08, Dr. Edwards quickly familiarized herself with Adobe Connect and adapted the training

       content for delivery on this alternate platform. This allowed all of the sessions to go on as originally scheduled.

       When the number of users needing Victim Witness training exceeded seats available in the remaining sessions, she

       developed a process that allowed others to watch the training from the computer of a registered user and receive credit

       for it. This allowed more than 100 users to participate in one of the final sessions and reduced the number of agents

       that needed to watch a videotaped session to fulfill the training requirement by the deadline.
       Dr. Edwards effectively balanced her learnATF Live responsibilities with her other responsibilities as

       sub-administrator for the Learning Management System (LMS) and LTB project lead for the onboarding initiative. In

       support of the LMS she provided assistance to Training Coordinators and Training Specialists on searching records,

       assigning training, scheduling events, recording completions, entering SF-182s and IDPs, and running reports. She

       created job aids and Captivate simulations for Training Specialists in CEB and AFOTD who were tasked with entering

       records in the LMS for learnATF Live sessions. She also reviewed and handled issues identified on the daily error

       report for the HR import of LMS user records.
       Originally asked to participate in onboarding meetings to speak to learnATF capabilities and resources that could

       support it, Dr. Edwards¿ technical skills were quickly noted by team members. She was asked to join the team and soon

       took on additional tasks. This included investigating web-based on-boarding technology solutions; arranging for a demo

       of one potential solution, attending a seminar on on-boarding best practices, contacting NASA to learn more about their

       on-boarding system and preparing a demo web page to illustrate what a new employee portal might look like. Her

       enthusiasm and creativity made her a natural pick as the LTB project lead when the branch assumed responsibility for

       development of the new employee onboarding portal. In this role, Dr. Edwards created a series of electronic folders on

       the LTB common drive to ensure source material and project deliverables were accessible to everyone working on the

       initiative. She met regularly with others in LTB to review their progress on various content pieces for the portal and

       took responsibility for several of these pieces herself. She drafted the welcome message from the Director,

       consolidated the acronym list, identified COTS software for creation of the facility virtual tours and built a prototype

       to demonstrate how one would work. She also holds regular meetings with HRD personnel working on the EODS

       implementation and participated in ATF¿s workshop with the HRConnect office to make decisions on interface design.

       Dr. Edwards has consistently demonstrated her ability to multi-task, prioritize and manage her work assignments. She

       uses sound organizational practices to ensure that the many steps or elements of complex projects are accounted for. By

       doing so she ensures that deadlines are met even when competing demands are placed on her time.



Third Element
Oral and Written Communication: The employee must communicate effectively in both oral and written formats to inform and

persuade.

                                                                Page 8
      Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 9 of 18




Outstanding
The employee independently exhibits exemplary communication skills with all audiences and across all media and

demonstrates an ability to influence others to act. The employee's written work products are thorough, concise,

accurate and well-organized. Written documents are reviewed in detail prior to submission to management and rarely are

returned to correct spelling, grammatical, or punctuation errors. Documents rarely require editing for substance,

layout or fact. Memorandum, correspondence and other documents are formatted in accordance with the Bureau style

manual. All recurring reports, including the Weekly Status Report, are submitted within established time frames.

E-mails to TPD training/program managers, program office clients, end users and vendors are clear, concise and use a

tone designed to promote understanding of the information and/or agreement with the ideas presented.


The employee exhibits an exemplary understanding of negotiation and collaboration techniques and pursues effective

consensus between TPD training/program managers and program office clients in the pursuit of learning technology

initiatives. The employee always communicates the goals and benefits of the learning technology program and achieves

agreement between all affected parties on proposed solutions. The employee demonstrates excellent interpersonal skills

which contribute to consensus on issues. The employee seeks opportunities to learn from and share information with

other Government agency representatives interested or involved in technology-based learning initiatives.




Fully Successful
The employee independently exhibits communication skills with all audiences and across all media. The employee's

written work products generally are thorough, concise, accurate and well-organized. Written documents are reviewed in

detail prior to submission to management and only occasionally are returned due to spelling, grammar, or punctuation

errors. Management edits are limited to substance and fact versus structure and style. Memorandum, correspondence and

other documents generally are formatted in accordance with the Bureau style manual. Recurring reports, including the

Weekly Status Report, are submitted within established time frames and are missing or late no more than 10% of the time.

E-mails to TPD training/program managers, program office clients, end users and vendors generally are clear, concise

and use a tone designed to promote understanding of the information and/or agreement with the ideas presented.

Management rarely must follow-up with recipients to clarify or provide additional information to that which is provided

in e-mails initiated by the employee.

The employee exhibits an understanding of negotiation and collaboration techniques and often is able to pursue

consensus between training/program managers and program office clients in the pursuit of learning technology

initiatives. Occasionally management must clarify goals and assist in negotiating consensus. The employee communicates

the goals and benefits of the learning technology program and usually achieves agreement between affected parties on

proposed solutions. The employee demonstrates effective interpersonal skills which contribute to consensus on issues.

When asked, the employee participates in meetings with other Government agency representatives interested or involved in

                                                       Page 9
     Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 10 of 18
technology-based learning initiatives.




Unacceptable
The employee does not exhibit effective communication skills with a variety of audiences and/or media. On more than two

occasions, the employee fails to communicate ideas or information clearly. The employee's written work products

frequently lack sufficient detail or accuracy of fact. Written documents seldom are reviewed prior to submission to

management and on more than five occasions are returned due to significant spelling, grammar, or punctuation errors that

render the document unreadable. Memorandum, correspondence and other documents are not formatted in accordance with the

Bureau style manual on more than two occasions. Recurring reports, including the Weekly Status Report, are submitted on

a regular basis, but are missing or late more than 25% of the time. E-mails initiated by the employee to TPD

training/program managers, program office clients, end users and vendors frequently require management follow-up with

recipients to clarify or provide additional information to that which is provided.

The employee exhibits little understanding of negotiation and collaboration techniques and is often unable without

management intervention to pursue consensus between TPD training/program managers and program office clients in the

pursuit of learning technology initiatives. The employee fails to demonstrate effective interpersonal skills and this

contributes to a lack of consensus on issues.




Element Ratings
  5 - Outstanding                  x 4 - Exceeded                       3 - Fully Successful            2 - Minimally Satisfactory


  1 - Unsatisfactory                  X - Not Applicable




Comments
Dr. Edwards consistently demonstrated her ability to communicate effectively to a variety of audiences and in a variety

of mediums this rating period. Her presentation skills are exceptional and were evidenced by the LTB Technology

Showcase she provided on the learnATF Live initiative; the block of Instructor training she taught on creating engaging

Powerpoint presentations; the presentation she gave to ELRB and the ACC (A&E) on learnATF Live capabilities and in the

many learnATF Live sessions she facilitated. Dr. Edwards has an engaging and dynamic manner that puts both instructors

and students at ease. She worked effectively with subject matter experts from several different program offices,

achieving consensus when changes in the content or design of virtual sessions were needed to meet learning objectives.

More than once, Dr. Edwards¿ communication skills actually contributed to the successful resolution of problems, an

example of which is illustrated by her efforts to troubleshoot issues with the Centra upgrade. Early on she established

good working relationships with both Saba technical support and the Senior Database Administrator from DOJ OSS.

Although the OSS DBA was busy with other projects, which made obtaining his assistance through regular channels a

challenge, on several occasions Dr. Edwards was able to leverage her rapport with him to get his assistance with pulling


                                                           Page 10
             Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 11 of 18
        log files, implementing possible solutions and rebooting the Centra servers. She also was able to establish contacts

        with senior personnel in Saba technical support to ensure that the most knowledgeable resources were working ATF¿s

        tickets. When problems with the platform persisted she worked effectively with Adobe representatives to transition the

        virtual sessions to the Connect platform and later with GPe to configure the new Centra instance. To expand the number

        of resources available to support learnATF Live, Dr. Edwards also helped mentor a fellow LTB coworker and a CEB

        management assistant on facilitating virtual sessions. She made sure that they clearly understood the responsibilities

        of this position and had the information needed to perform it successfully.
        Dr. Edwards also produced several written work products this rating period. These included a memorandum used by ATF

        attorneys to document CLEs earned from the attorney continuing education virtual sessions, summaries of evaluation

        results for virtual sessions which were sent to program offices upon conclusion of each series of events, and a proposal

        for expanding use of the learnATF Live platform. In support of the onboarding initiative, Dr. Edwards drafted a welcome

        message to new employees from the Acting Director; a tips guide for individuals who will be helping film the ¿Day in the

        Life of¿¿ video journals and a report detailing the status of each deliverable (which the Chief, LSMD used as the basis

        to brief the Workforce SPAC on LTB¿s efforts). Memorandums were formatted in accordance with Bureau standards and

        written products were free from spelling or grammatical errors. Occasionally Dr. Edwards¿ written work, such as the

        Director¿s welcome message and video journal tips, leveraged content from other sources. While this helped reduce the

        time it took to prepare the documents, editing was occasionally needed by management to trim unnecessary verbiage and

        improve overall document flow. However because the underlying content of her written work was solid, once edits were

        made these documents were quickly finalized. The welcome message, which was reviewed by the Workforce SPAC and routed

        through several layers of management to the Director, required only minor changes before being approved. Weekly reports

        were regularly completed and turned in on time.



Fourth Element
Problem-Solving/Decision-Making: The employee proactively identifies issues, problems or obstacles impeding progress on

assignments and projects and recommends resourceful and creative solutions to those problems.




        Outstanding
        The employee independently and proactively identifies potential problems or issues associated with assigned projects or

        program initiatives and acts decisively to address them before they become major impediments to completion of

        assignments or achievement of program goals. After a thorough review and analysis of all options and variables, the

        employee recommends solutions that reflect a sound assessment of the likely outcome and impact of proposed actions. The

        employee proactively seeks to identify and address concerns of parties affected by the problem or proposed solution.

        Problems addressed frequently are complex in nature and involve issues related to training policy, standards, practices

        and or operational procedures. The employee exhibits clarity of vision and an ability to think strategically in

        devising solutions and making recommendations for change.




                                                                Page 11
      Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 12 of 18




Fully Successful
The employee identifies potential problems or obstacles impeding progress on assignments and projects and acts to

address less complex problems independently. Occasionally, the employee consults with or requires assistance from

management to resolve complex issues. Issues are addressed before they become major impediments to overall project

success, but occasionally minor delays occur in the accomplishment of individual project tasks. The employee's

recommendations account for all variables and the likely outcome of proposed actions and usually address the interests

of parties affected by the problem or proposed solution. Solutions are sound, but do not always account for new

approaches or options to solving the problem. Recommendations generally are accepted by management with only minor

revision. Problems addressed involve issues related to training policy, standards, practices and or operational

procedures. The employee devises solutions to problems that usually demonstrate an understanding of larger program

goals and the impact of proposed changes beyond resolution of the immediate issue.




Unacceptable
The employee frequently fails to identify potential problems or obstacles before they impede progress on assignments

and/or does not act on problems without management input. Failure to address issues in a timely manner results in

significant delays in project completion or achievement of program goals. On more than two occasions, the employee

proposes solutions that reflect only a cursory review of all options and variables and which require reassessment of the

situation and potential solutions before an acceptable plan of action is approved by management. The employee fails to

solicit or address concerns of parties affected by the problem or proposed solution and, as a result, on more than two

occasions, solutions create confusion or cause unanticipated negative consequences for others. The employee proposes

solutions that are short-sighted and fix immediate problems, instead of resolving long term or broader underlying

issues.




Element Ratings
x 5 - Outstanding                     4 - Exceeded                     3 - Fully Successful             2 - Minimally Satisfactory


  1 - Unsatisfactory                  X - Not Applicable




Comments
This rating period, Dr. Edwards exhibited several characteristics key to effective problem-solving: persistence when

trying to resolve complex problems with no clear solution; creativity in improvising solutions when things don¿t go as

planned and initiative in seeking alternative approaches to completing tasks or solving problems. As the primary

administrator of the learnATF Live platform, Dr. Edwards was actively engaged for much of the year in efforts to

                                                           Page 12
     Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 13 of 18
troubleshoot technical issues that occurred after an attempt to upgrade the DOJ Centra instance failed. These efforts

were hampered by the lack of a dedicated support resource from DOJ/OSS and a general lack of knowledge about Centra

within DOJ. Dr. Edwards participated in numerous conference calls to monitor troubleshooting efforts and on more than

one occasion traveled to the DOJ Data Center so she could test the application immediately after changes aimed at

resolving the problems were made. This allowed the IT support personnel working on the issue to immediately see for

themselves whether the application's behavior was improved or altered by attempted fixes. She also submitted trouble

tickets to Saba technical support, documenting problems with comprehensive descriptions of application behavior and

screenshots and obtaining the necessary server log files when needed. She communicated regularly with all parties

involved making sure no one dropped the ball on efforts to fix the problem. Although ultimately the technical issues

with the current instance proved too severe to remedy, Dr. Edwards¿ persistence throughout this ordeal and her

willingness to support others in whatever way she could to affect a solution speak clearly to her problem-solving

abilities.
On a number of occasions this rating period, Dr. Edwards also had an opportunity to demonstrate her resourcefulness in

improvising solutions under pressure. An example of this is her handling of problems that arose during one of the

Ethics virtual sessions. Shortly before the session was scheduled to start, Dr. Edwards determined that the call bridge

PIN for the audio portion of the session had been inactivated for unknown reasons. She immediately contacted Central

Support to resolve the issue; however, the system administrator was at lunch which prevented the PIN from being

reactivated. She next contacted the instructor, explained the situation to him and determined that he had access to a

headset with a microphone. Dr. Edwards instructed the instructor on how to activate VoIP and change the settings on his

computer so his microphone and headset worked properly. She then created a note that was displayed to participants when

they joined the virtual session that explained the call bridge was inaccessible and how to un-mute the volume on their

computer so they could hear the instructor (who would be speaking using VoIP). This allowed the session to start only a

few minutes later than originally scheduled. Although participants were not able to ask questions using the call

bridge, they were able to interact and ask questions using the text chat feature and the session was delivered

successfully.
During another virtual session, an unexpected problem with users coming in to Centra from a VPN connection was

discovered. Exhibiting forethought and good planning, Dr. Edwards had created the session in Adobe Connect as well,

just in the event of such an emergency happening. However when she switched participants over to the Connect platform,

she found that the virtual classroom had inadvertently been limited to fewer seats than were needed. Once the session

lines were full, she asked users who were unable to connect to pull up the PowerPoint slides she had sent with the

session instructions. This allowed them to follow along with the content while they listened to the instructor on the

call bridge. Users who could not connect also were given the option to participate in a future session. In this

instance, Dr. Edwards ran into and overcame not one but two significant problems that otherwise would have derailed the

training session and/or forced its cancellation.
Another example of Dr. Edwards¿ problem-solving skills this rating period was her handling of problems with the

recording of the Property Custodian training session. Materials Management had hoped to provide an asynchronous version

of this training through the recording of a virtual session. However technical problems made this impossible in either

the Centra or Adobe platform. Dr. Edwards devised an alternate approach whereby the content from the live session could


                                                        Page 13
     Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 14 of 18
be imported into LTB¿s courseware templates; Captivate could be used to capture application shares and the instructor

could record audio narration using the scripted notes. The asynchronous course is now in development and should be

released in early FY10.
Finally, Dr. Edwards also showed initiative in finding a cost-effective solution for the development of the virtual

facility tours planned as part of the onboarding initiative. Originally LTB had considered building these tours in

Flash. Although LTB¿s media specialist has the necessary skills to do this, it would have required a significant effort

on his part to do so. Dr. Edwards researched COTS software and identified a package that can be used to create

Flash-based tours using imported text and photos. Because the software automatically adds the navigation and user

interface, development time for the tours will be reduced significantly. LTB worked with OST to purchase this software.

This will make it possible to have more tours ready at the time of site launch than was originally anticipated.




                                                        Page 14
       Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 15 of 18




Employee Feedback




                                   Page 15
         Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 16 of 18




Second Level/Reviewer Comments
    Dr. Edwards, you are a true asset to the Bureau's training efforts. Thank you for the outstanding work this appraisal
    period.




                                                      Page 16
        Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 17 of 18




Third Person Feedback




                                    Page 17
         Case 1:19-cr-00064-GHW Document 81-22 Filed 10/23/20 Page 18 of 18




Overall Summary
    Dr. May Edwards is a true asset to LTB. Despite all of the problems that occurred this year with the Centra platform,
    she has helped continue to grow the success of learnATF Live. She has quickly adapted to changing conditions thereby
    ensuring that sessions occured as planned and demonstrated strong technical and problem-solving skills under pressure
    when unexpected difficulties threatened to force the cancellation of events. Her dedication and hard work is truly
    appreciated.




                                                      Page 18
